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1    LAW OFFICE OF RESHMA KAMATH
     Reshma Kamath, Cal. Bar No. 333800
2    700 El Camino Real, Suite 120, #1084,
3    Menlo Park, California 94025, United States
     Phone-number: 650 257 0719
4    E-mail address: reshmakamath2021@gmail.com
5    COUNSEL FOR DEFENDANTS RUIFENG
     BIZTECH INC.; GANGYOU WANG;
6    ALAN LI; AND, RF BIOTECH LLC.
7

8                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
9                            SAN FRANCISCO DIVISION
10
                                           Case No.: 3:20-cv-04808-WHA
     QUINTARA BIOSCIENCES,
11
     INC., a California corporation,
                                           [Assigned to presiding Article III Senior
12                                         District Judge Honorable William Haskell
                  Plaintiffs,              Alsup]
13

14                v.                       NOTICE TO JUDGE ALSUP OF
                                           ATTORNEYS JAMES LI, TAMARA
15
     RUIFENG BIZTECH INC., a               RIDER, DANIEL PETERSON, AND
16   California corporation,               RICHARD               LAMBERT’S
     GANGYOU WANG, an                      GAMESMANSHIP AND BAD-FAITH IN
17
     individual, ALEX WONG, an             THE NOTICE OF APPEAL CASE
18   individual, ALAN LI, an               NUMBER, 0:23-cv-16093  IN   NOT
     individual, RUI SHAO, an              INCLUDING    COUNSEL     RESHMA
19
     individual, and RF BIOTECH            KAMATH        AS      APPELLEES’
20   LLC, a California limited liability   ATTORNEY-OF-RECORD;         AND
     company,                              PREJUDICIAL FILING TO APPELEES
21
                                           GANGYOU     WANG,     ALAN   LI,
22                Defendants.              RUIFENG BIZTECH, INC.; AND, RF
23
                                           BIOTECH LLC

24

25

26

27
         TO THE HONORABLE COURT, ALL PARTIES, AND ATTORNEYS OF
28   RECORD, HEREIN:
                                                                 Case No. 3:20-cv-04808-WHA
                                NOTICE OF JAMES LI’S BAD-FAITH
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1           PLEASE TAKE NOTICE from Counsel RESHMA KAMATH of the opposing

2    Attorneys’ JAMES LI, TAMARA RIDER, DANIEL PETERSON, and RICHARD
3
     LAMBERT’s yet another gamesmanship in bad-faith tactics.
4

5           For over three months, Counsel RESHMA KAMATH was awaiting notice from
6    the NINTH CIRCUIT COURT OF APPEALS for the NOTICE OF APPEAL, and
7
     related materials. However, even on undersigned date, Counsel RESHMA KAMATH
8

9    has not received from opposing Attorneys’ JAMES LI, TAMARA RIDER, DANIEL
10
     PETERSON, and RICHARD LAMBERT not one service from ACMS, mail, and/or
11
     otherwise.
12

13          Those opposing Attorneys’ JAMES LI, TAMARA RIDER, DANIEL
14
     PETERSON, and RICHARD LAMBERT had not even provided the APPEAL CASE
15
     NUMBER on-going in any document to Counsel RESHMA KAMATH.
16

17          After Counsel RESHMA KAMATH investigated further, Attorneys’ JAMES LI,
18
     TAMARA RIDER, DANIEL PETERSON, and RICHARD LAMBERT did NOT list
19
     RESHMA KAMATH as the Appellee’s Attorney-of-Record in the Notice of Appeal
20

21   and/or other documents.
22
            Because on the Ninth Circuit Court of Appeals docket, the name that appears
23
     falsely, incorrectly, and erroneously, is the terminated attorney, Brandon Carr,
24

25   Buchalter Professional Corporation. This person was terminated by GANGYOU
26
     WANG, ALAN LI, RUIFENG BIOTECH, INC., and RF BIOTECH, LLC over two
27
     years ago.
28

                                NOTICE OF BAD-FAITH AND GAMESMANSHIP OF JAMES LI

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1           Instead of listing the trial attorney, who won, RESHMA KAMATH, LAW

2    OFFICE OF RESHMA KAMATH, opposing Attorneys’ JAMES LI, TAMARA
3
     RIDER, DANIEL PETERSON, and RICHARD LAMBERT put some other terminated
4

5    attorneys’ name. This is because opposing Attorneys’ JAMES LI, TAMARA RIDER,
6    DANIEL PETERSON, and RICHARD LAMBERT did not want GANGYOU WANG,
7
     ALAN LI, RUIFENG BIOTECH, INC., and RF BIOTECH, LLC; and their
8

9    undersigned counsel, RESHMA KAMATH, to receive notice of the appealed
10
     document filings. If the opposing attorneys had knowledge that Brandon Carr’s
11
     name was listed on the Ninth Circuit Court of Appeals, then there was no
12

13   correction, and rectification on their part as ethical attorneys.
14
            Opposing Attorneys’ JAMES LI, TAMARA RIDER, DANIEL PETERSON, and
15
     RICHARD LAMBERT were and are highly unethical in their gathering of discovery,
16

17   binder exchange, misleading filings re COVID-19 illness, conduct at trial, and on-going
18
     with the appeal.
19
            Then, Counsel RESHMA KAMATH found this below attached in Exhibit A, and
20

21   incorporated via reference, herein.
22
            This is not just racism, it is further evidence of opposing Attorneys’ JAMES LI,
23
     TAMARA RIDER, DANIEL PETERSON, and RICHARD LAMBERT’s bad-faith,
24

25   gamesmanship, and ill-will.
26
            Judge Alsup now suddenly cannot claim he does not have jurisdiction because the
27
     matter is on appeal perfected (after a plethora of reminders from Counsel Reshma
28

                                NOTICE OF BAD-FAITH AND GAMESMANSHIP OF JAMES LI

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1    Kamath that was exceeding the scope of his jurisdiction and acting in abuse of his

2    discretion) – when Judge Alsup claimed jurisdiction over three months since the notice
3
     of appeal was filed.
4

5           If Judge Alsup as a judicial officer knows illegality, then he must report this and
6    take the required action. Only one-sided sanctions clearly show racism of Judge Alsup
7
     – it is undisputed.
8

9    ///
10
                                                    LAW OFFICE OF RESHMA KAMATH
11

12   DATED: November 22, 2023                               /S/ Reshma Kamath
13                                                  Reshma Kamath,
                                                    Counsel for Defendants RUIFENG BIZTECH
14
                                                    INC.; GANGYOU WANG; ALAN LI; and, RF
15                                                  BIOTECH LLC
16

17

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26
                                 CERTIFICATE OF SERVICE
27         F.R.C.P. 5 / C.C.P. § 1013(a)(3), C.C.P. § 1010.6(a)(6) / Cal. R. Ct. R. 2.260
28

                                NOTICE OF BAD-FAITH AND GAMESMANSHIP OF JAMES LI

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1           I am employed in, the County of San Mateo, California. I am over the age of 18,
     and not a party to this action. My business/mailing address is: 700 El Camino Real, Suite
2    120, #1084, Menlo Park, California 94025, United States; and, e-mail address is
3    reshmakamath2021@gmail.com for electronic-service. On November 22, 2023, I sent
     the following documents via the below method of service. SEE ATTACHED SERVICE
4    LIST.
5    ///
     NOTICE TO JUDGE ALSUP OF ATTORNEYS JAMES LI, TAMARA RIDER,
6    DANIEL PETERSON, AND RICHARD LAMBERT’S GAMESMANSHIP AND
7    BAD-FAITH IN THE NOTICE OF APPEAL CASE NUMBER, 0:23-cv-16093
     IN NOT INCLUDING COUNSEL RESHMA KAMATH AS APPELLEES’
8    ATTORNEY-OF-RECORD; AND PREJUDICIAL FILING TO APPELEES
9    GANGYOU WANG, ALAN LI, RUIFENG BIZTECH, INC.; AND, RF BIOTECH
     LLC
10
     ///
11          Via ELECTRONIC SERVICE: In electronically transmitting courtesy copies of
     the document(s) listed above to the email address(es) of the person(s) set forth on the
12
     attached service list per the electronic service agreement between the parties’ counsel.
13   To my knowledge, the transmission was reported as complete and without error. [Notice
     of Electronic-Service pursuant to California Code of Civil Procedure § 1010.6.]
14

15         I declare under penalty of perjury of the laws of the State of California, and the
     laws of the United States of America that the foregoing is true and correct. Executed on
16
     November 22, 2023.
17
                                                                        Sincerely,
18                                                                  /S/ Reshma Kamath
19                                                                  Reshma Kamath
20   SERVICE LIST
21   Daniel Robert Peterson Email: petersond@lilaw.us
     Richard D Lambert Email: lambertr@lilaw.us
22   Tamara Rider Email: ridert@lilaw.us
23   J. James Li LiLaw, Inc. 1905 Hamilton Avenue Suite 200 San Jose, CA 95125
     650-521-5956 Fax: 650-521-5955 Email: lij@lilaw.us
24
     ATTORNEYS FOR PLAINTIFF QUINTARA BIOSCIENCES, INC.
25   Ting Jiang, LiLaw, Inc./Quintara’s Legal assistant E.: jiangt@lilaw.us
     Evelyn Rojase, Tamara Rider’s assistant, E.: rojase@lilaw.us
26

27

28

                                NOTICE OF BAD-FAITH AND GAMESMANSHIP OF JAMES LI

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                EXHIBIT A
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